               Case 1:23-cv-03905-RC         Document 7        Filed 01/26/24     Page 1 of 3




 1

 2

 3

 4

 5

 6

 7                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLUMBIA
 8

 9   North Carolina Fisheries Association, Inc., et
     al,                                                    No. 1:23-cv-3905
10
                                           Plaintiff,       AFFIDAVIT OF SERVICE OF
11                                                          SUMMONS AND COMPLAINT
             v.
12
     Gina M. Raimondo, in her official capacity as
13   U.S. Secretary of Commerce, et al.,

14                                      Defendant.

15

16           I, Dara Cancel, hereby declare under penalty of perjury that on January 5, 2024, I caused

17   to be deposited in the certified mail of the United States a copy of the summons and complaint in

18   the above-captioned case, postage prepaid, return receipt requested, to be served on all named

19   defendants and upon the U.S. Attorney General and upon the U.S. Attorney for the District of

20   Columbia pursuant to Fed. R. Civ. P 4(i)(1) and (2).

21           I have received proof of delivery for the certified mail, which is attached hereto as

22   Exhibit A (except in the case of the National Marine Fisheries Service, explained below),

23   indicating that delivery of the summons and complaint was made on the date(s) indicated below.

24

25

26
                                                                                        K&L GATES LLP
     317676937.1                                                                       501 COMMERCE ST.
                                                                                            SUITE 1500
                                                                                      NASHVILLE, TN 37203
     CERTIFICATE OF SERVICE - 1                                                     TELEPHONE: (615) 780-6700
                                                                                    FACSIMILE: (615) 780-6799
               Case 1:23-cv-03905-RC        Document 7       Filed 01/26/24      Page 2 of 3




 1    Defendant:                                      Receipt No.:                      Delivery Date:
 2    Gina Raimondo, in her official capacity as      94147266 9904 2214913508          01/12/24
      U.S. Secretary of Commerce
 3
      1401 Constitution Ave., NW
 4    Washington, DC 20230

 5    National Oceanic & Atmospheric                  9414726699042202 203963           01/12/24
      Administration
 6    1401 Constitution Avenue, NW
 7    Room 5128
      Washington, DC 20230
 8
      National Marine Fisheries Service               9414726699042202203956            01/11/24
 9    1315 East-West Highway                                                            (see below)
      Silver Spring, MD 20910
10

11    Merrick B. Garland                              9414726699042202203932            01/17/24
      U.S. Department of Justice
12    950 Pennsylvania Avenue, NW
      Washington, DC 20530-0001
13
      Matthew M. Graves                               9414726699042202203949            01/17/24
14
      U.S. Attorney for the District of Columbia
15    c/o Civil Process Clerk
      U.S. Attorney's Office for D.C.
16    601 D Street, NW
      Washington, DC 20530
17

18           With respect to defendant National Marine Fisheries Service, on January 26, 2024, the
19   U.S. Postal Service website still indicated that the package was “Moving Through Network: In
20   Transit to Next Facility, Arriving Late” as of January 12, 2024. I thereafter attempted personal
21   service of process upon the National Marine Fisheries Service through Capitol Process Services,
22   Inc., a third-party process server. The process server informed me on January 22, 2024 that he
23   attempted service at the public address for the National Marine Fisheries Service, 1315 East-
24   West Highway, Silver Spring, MD 20910, but was told that service is not accepted at the
25   address. See Exhibit B. On January 24, 2024, I called the National Marine Fisheries Service at
26   301-427-8000, and spoke
                                                                                      K&L GATES LLP
     317676937.1                                                                     501 COMMERCE ST.
                                                                                          SUITE 1500
                                                                                    NASHVILLE, TN 37203
     CERTIFICATE OF SERVICE - 2                                                   TELEPHONE: (615) 780-6700
                                                                                  FACSIMILE: (615) 780-6799
               Case 1:23-cv-03905-RC          Document 7       Filed 01/26/24      Page 3 of 3




 1   to Saraz Rukh, who looked up the case by name and case number in the agency’s records while I

 2   was on the telephone and informed me that the National Marine Fisheries Service received the

 3   summons and complaint on January 11, 2024.

 4           I declare under penalty of perjury that the foregoing is true and correct:

 5           EXECUTED this 26th day of January, 2024, Nashville, TN.
                                                   K&L GATES LLP
 6

 7

 8
                                                              Dara Cancel
 9                                                            Senior Practice Assistant Senior Practice
                                                              Assistant
10                                                            K&L Gates LLP
                                                              501 Commerce Street,
11                                                            Suite 1500
12                                                            Nashville, TN 37203
                                                              Phone: 615 514 1816
13                                                            Fax: 615 780 6799
                                                              Dara.Cancel@klgates.com
14

15

16

17

18

19

20

21

22

23

24

25

26
                                                                                         K&L GATES LLP
     317676937.1                                                                        501 COMMERCE ST.
                                                                                             SUITE 1500
                                                                                       NASHVILLE, TN 37203
     CERTIFICATE OF SERVICE - 3                                                      TELEPHONE: (615) 780-6700
                                                                                     FACSIMILE: (615) 780-6799
